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                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY


    COMMSCOPE, INC.,                                   Civil Action No.

                    Plaintiff,                         19-15962 (JXN) (LDW)

    v.
                                                       AMENDED SCHEDULING ORDER
    ROSENBERGER TECHNOLOGY
    (KUNSHAN) CO. LTD., et al.,

                    Defendants.


         THIS MATTER having come before the Court by way of a December 3, 2021 joint

  request from the parties (ECF No. 489) seeking an extension of discovery deadlines to allow for

  the coordination of depositions; and whereas several of the parties to this action are also parties to

  a patent case pending in the District of Delaware; and the parties anticipating that many of the

  witnesses to be deposed in this action will also be deposed in the Delaware action; and the parties

  notifying the Court that several witnesses will need to travel internationally to provide such

  depositions; and the parties having agreed to coordinate these depositions such that the burden on

  witnesses and counsel may be minimized; and, therefore, good cause having been shown,

         IT IS, on this 17th day of December 2021, ORDERED that the Pretrial Scheduling Order

  entered January 11, 2021 (ECF No. 370), as subsequently amended, is hereby further amended as

  follows:

     1. The period in which depositions may be taken is extended through March 31, 2022. All

         other fact discovery shall be concluded by the existing deadline of January 31, 2022. Per

         the agreement of the parties, the extension with respect to deposition discovery shall not

         be used to demand additional written discovery or to argue for additional depositions.
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     2. All affirmative expert reports shall be delivered by May 20, 2022. Any such report shall

        comport with the form and content requirements of Fed. R. Civ. P. 26(a)(2)(B).

     3. All responding expert reports shall be delivered by June 29, 2022. Any such report shall

        comport with the form and content requirements referenced above.

     4. Expert discovery, including the depositions of any expert witnesses, shall be completed on

        or before August 31, 2022.

     5. The parties shall appear for a telephonic status conference before the undersigned on

        February 16, 2022 at 4:30 p.m. The parties shall submit concise status letters to the Court

        no later than one week in advance of the conference. Dial-in information for the conference

        is (888) 684-8852, access code 8948139.

                                                s/ Leda Dunn Wettre
                                               Hon. Leda Dunn Wettre
                                               United States Magistrate Judge




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